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         Exhibit	  GG	  
12/15/22, 9:13 PM                          Case 1:23-cv-00822-ADA Document  27-26
                                                                      Los Angeles         Filed
                                                                                  to Austin       12/22/22
                                                                                            | Google Flights Page 2 of 4




         Round trip                    1           Economy


                        …
              Los Angeles                           Austin                                 Sat, Jan 14                      Sun, Jan 15


          All filters          Stops             Airlines              Bags              Price              Times               Emissions                 C




         Track                   Jan 14–15,                          Any
                                                                                                        Date grid                    Price graph
         prices                  2023                                dates


Best departing flights
Ranked based on price and convenience                   Prices include required taxes + fees for 1 adult. Optional charges Sort by:
and bag fees may apply.



                    2:05 PM         7:04 PM                                                                                            $74
                    LAX             AUS                                                                                         round trip

                    Nonstop · 2 hr 59 min · Spirit                                                                    126 kg CO2
                                                                                                                      -13% emissions

                    9:15 AM        2:12 PM                                                                                           $128
                    LAX            AUS                                                                                          round trip

                    Nonstop · 2 hr 57 min · American                                                                   141 kg CO2
https://www.google.com/travel/flights/search?tfs=CBwQAhoiagcIARIDTEFYEgoyMDIzLTAxLTE0cgsIAhIHL20vMHZ6bRoiagsIAhIHL20vMHZ6bRIKMjAyMy0wMS0xNXIHCAESA0xBWHABggELCP___________…   1/3
12/15/22, 9:13 PM                          Case 1:23-cv-00822-ADA Document  27-26
                                                                      Los Angeles         Filed
                                                                                  to Austin       12/22/22
                                                                                            | Google Flights Page 3 of 4
                                                                                                                       Avg emissions

                    12:18 PM         5:08 PM                                                                                         $148
                    LAX              AUS                                                                                        round trip
                    Nonstop · 2 hr 50 min · American                                                                   141 kg CO2
                                                                                                                       Avg emissions

                    5:58 PM          10:49 PM                                                                                        $168
                    LAX              AUS                                                                                        round trip

                    Nonstop · 2 hr 51 min · Delta                                                                      146 kg CO2
                                                                                                                       Avg emissions

                    7:10 AM          12:00 PM                                                                    Price unavailable
                    LAX              AUS

                    Nonstop · 2 hr 50 min · Southwest                                                                 160 kg CO2
                                                                                                                       +9% emissions




                          Prices are currently typical for your trip.




Other departing flights

                    9:07 AM          3:52 PM                                                                                         $107
                    LAX              AUS                                                                                        round trip

                    1 stop · 4 hr 45 min · Spirit                                                                     156 kg CO2
                                                                                                                       +6% emissions

                    6:15 AM          1:04 PM                                                                                         $151
                    LAX              AUS                                                                                        round trip

                    1 stop · 4 hr 49 min · American                                                                  163 kg CO2
https://www.google.com/travel/flights/search?tfs=CBwQAhoiagcIARIDTEFYEgoyMDIzLTAxLTE0cgsIAhIHL20vMHZ6bRoiagsIAhIHL20vMHZ6bRIKMjAyMy0wMS0xNXIHCAESA0xBWHABggELCP___________…   2/3
12/15/22, 9:13 PM                           Case 1:23-cv-00822-ADA Document  27-26
                                                                       Los Angeles         Filed
                                                                                   to Austin       12/22/22
                                                                                             | Google Flights Page 4 of 4
                                                                                                                     +11% emissions

                    10:32 AM          3:38 PM                                                                                        $188
                    LAX               AUS                                                                                       round trip

                    Nonstop · 3 hr 6 min · United · Operated by Skywest DBA United Express                           169 kg CO2
                                                                                                                     +15% emissions

                    7:06 PM           12:08 AM+1                                                                                     $188
                    LAX               AUS                                                                                       round trip

                    Nonstop · 3 hr 2 min · United · Operated by Skywest DBA United Express                           169 kg CO2
                                                                                                                     +15% emissions

                    8:40 AM           1:38 PM                                                                                        $198
                    LAX               AUS                                                                                       round trip

                    Nonstop · 2 hr 58 min · Delta                                                                      146 kg CO2
                                                                                                                       Avg emissions

                          79 more flights




               Language​· English (United States)                           Location​· United States                         Currency​· USD


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https://www.google.com/travel/flights/search?tfs=CBwQAhoiagcIARIDTEFYEgoyMDIzLTAxLTE0cgsIAhIHL20vMHZ6bRoiagsIAhIHL20vMHZ6bRIKMjAyMy0wMS0xNXIHCAESA0xBWHABggELCP___________…   3/3
